

People v Hicks (2025 NY Slip Op 50472(U))



[*1]


People v Hicks (Jason)


2025 NY Slip Op 50472(U)


Decided on April 11, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 11, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



570694/18

 The People of the State of New York, Respondent,
againstJason Hicks, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, New York County (Steven M. Statsinger, J.), rendered June 1, 2018, convicting him, upon his plea of guilty, of criminal possession of a controlled substance in the seventh degree, and imposing sentence.




Per Curiam.
Judgment of conviction (Steven M. Statsinger, J.), rendered June 1, 2018, affirmed.
In view of defendant's knowing waiver of the right to prosecution by information, the accusatory instrument only had to satisfy the reasonable cause requirement of a misdemeanor complaint (see People v Dumay, 23 NY3d 518, 522 [2014]). So viewed, the accusatory instrument charging seventh-degree criminal possession of a controlled substance (see Penal Law § 220.03) was jurisdictionally valid. Defendant's constructive possession of the crack cocaine was established by sworn police allegations that defendant was observed "drop[ping] several ziplock bags of crack cocaine to the ground" and that another police officer "t[ook] thirty ziplock bags of crack cocaine from the location where the defendant had been standing" (see People v Reisman, 29 NY2d 278, 285—286 [1971], cert denied 405 US 1041 [1972]; People v Dinardo, 94 AD3d 626 [2012], lv denied 19 NY3d 972 [2012]; People v Oquendo, 39 Misc 3d 70 [App Term, 1st Dept 2013], lv denied 21 NY3d 1076 [2013]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur 
Decision Date: April 11, 2025









